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               9
                    Attorneys for Defendant Facebook, Inc.,
           10

           11                                    UNITED STATES DISTRICT COURT
           12                                  NORTHERN DISTRICT OF CALIFORNIA
                                                    SAN FRANCISCO DIVISION
           13

           14
                   IN RE: FACEBOOK, INC. CONSUMER                      CASE NO. 3:18-MD-02843-VC
           15      PRIVACY USER PROFILE LITIGATION,
                                                                       DECLARATION OF ALEXANDER
           16                                                          SWANSON IN SUPPORT OF FACEBOOK,
                   This document relates to:                           INC.’S ADMINISTRATIVE MOTION TO
           17                                                          FILE UNDER SEAL SPECIAL MASTER’S
                   ALL ACTIONS                                         ORDER RE: BUSINESS PARTNERS
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Gibson, Dunn &      SWANSON DECLARATION ISO FACEBOOK’S ADMINISTRATIVE MOTION TO FILE UNDER SEAL SPECIAL MASTER’S ORDER
Crutcher LLP
                                                          RE: BUSINESS PARTNERS
                                                        CASE NO. 3:18-MD-02843-VC
                        Case 3:18-md-02843-VC Document 760-2 Filed 11/19/21 Page 2 of 2


               1          I, Alexander Swanson, hereby declare as follows:
               2          1.      I am an associate at the law firm of Gibson, Dunn & Crutcher LLP, counsel of record
               3   for Facebook, Inc. (“Facebook”) in the above-captioned matter. I am a member in good standing of
               4   the State Bar of California. I submit this declaration in support of Facebook’s Administrative Motion
               5   To File Under Seal Special Master’s Order Re: Business Partners. I make this declaration on my own
               6   knowledge, and I would testify to the matters stated herein under oath if called upon to do so.
               7          2.      Attached as Exhibit A is a true and correct unredacted copy of Special Master
               8   Garrie’s Order Re: Business Partners.
               9          3.      I declare under penalty of perjury under the laws of the United States of America that
           10      the foregoing is true and correct.
           11

           12      Executed on November 19, 2021 in South Pasadena, California.
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                                                                                          Alexander Swanson
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Gibson, Dunn &      SWANSON DECLARATION ISO FACEBOOK’S ADMINISTRATIVE MOTION TO FILE UNDER SEAL SPECIAL MASTER’S ORDER
Crutcher LLP
                                                          RE: BUSINESS PARTNERS
                                                        CASE NO. 3:18-MD-02843-VC
